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4                         UNITED STATES DISTRICT COURT

5                         EASTERN DISTRICT OF CALIFORNIA

6

7    UNITED STATES OF AMERICA,            No.    2:15-cr-39-GEB
8                   Plaintiff,
9          v.                             ORDER DENYING MOTION FOR
                                          MISTRIAL
10   EMILIO LARA,
11
                    Defendant.
12

13
                Defendant Emilio Lara (“Defendant”) filed a motion for
14
     mistrial at 2:10 a.m. on April 6, 2018, which he noticed for
15
     hearing at 9:00 a.m. on April 6, 2018.         Mot. Mistrial at 3:7–10,
16
     ECF No. 128.      The judge’s criminal calendar commenced at 9:00
17
     a.m. on April 6, 2018, and did not end until around noon.             The
18
     United States (“government”) responded to the motion at 12:45
19
     p.m. on April 6, 2018. ECF No. 131.
20
                Defendant argues that a mistrial is necessary because
21
     the    government,     during    rebuttal     argument,      “[c]ompar[ed]
22
     considerations of motive to the sort of ‘speculation’ that cannot
23
     support reasonable doubt [and suggested that] Mr. Lara’s defense
24
     that he was unlikely to have acted willfully because he had no
25
     motive to do so was legally impermissible,” id. at 3:13–19, and
26
     because “[d]uring closing arguments from the defense, the Court
27
     interrupted to instruct the jury that if it wished to review a
28
                                         1
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1    [foreign language] video in evidence, it could make its request

2    to the Court, which would then consider the request and determine

3    whether access to the video would be provided,” id. at 5:17–21.

4    Defendant        requests       in       the        alternative        several    curative

5    instructions      be    given      the    jury,       but   argues      these    “will    not

6    entirely cure the harm that has already been done to the jury’s

7    deliberations,         and   for     that      reason,      a   mistrial    is    the    only

8    appropriate course of action.”                 Id. at 6:18–19.

9                Defendant requests that, in light of the first alleged

10   error,     the    “Court      provide          [Defendant’s]         earlier      requested

11   instruction in regards to motive and good faith, as it relays the

12   defense    theory      pertaining        to     a    lack   of    motive    and   provides

13   correct legal instruction to the jury regarding the manner in

14   which it may consider motive.”                      Id. at 5:1–5.       This instruction

15   was rejected with ample reason in ECF No. 126 (citing United

16   States v. Hickey, 580 F.3d 922, 931 (9th Cir. 2009) (“[O]ur case

17   law is well settled that a criminal defendant has no right to any

18   good     faith    instruction         when      the     jury     has    been     adequately

19   instructed with regard to the intent required to be found guilty

20   of the crime charged . . . .”)).                       Defendant also requests, in
21   addition, the jury be instructed:

22               The government is not required to prove that
                 the defendant had a motive to commit the
23               crimes charged. In reaching your verdict you
                 may, however, consider whether the defendant
24               had a motive.
25               Having a motive may be a factor tending to
                 show that the defendant is guilty. Not having
26               a motive may be a factor tending to show the
                 defendant is not guilty.
27

28   Mot. Mistrial at 5:9–13.
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1                Defendant   requests,    in   light   of   the   second    alleged

2    error, “a curative instruction from the Court informing the jury

3    that both the video and the transcript may be considered in

4    conjunction, and that the transcript’s weight only lies in the

5    aid it provides the jury in interpreting the audio of the video

6    exhibit.”    Id. at 6:14–17.

7                The government opposes the motion.           ECF No. 131.        It

8    argues, as to the first alleged error:

9                By making these comments about speculation,
                 the government was not seeking to preclude
10               the jury from considering the absence of
                 motive.    Rather,   government    counsel   was
11               explaining    that   the   jury   should   avoid
                 speculating about what the specific motive
12               was, since the government had introduced no
                 evidence about it and identifying the motive
13               is   unnecessary    to   the   jury’s   ultimate
                 finding. Defense counsel is asking the Court
14               to construe the government’s statements in
                 the worst possible light, but “a court should
15               not lightly infer that a prosecutor intends
                 an ambiguous remark to have its most damaging
16               meaning or that a jury, sitting through
                 lengthy exhortation, will draw that meaning
17               from    the    plethora    of   less    damaging
                 interpretations.”
18

19   Opp’n at 2:20–28 (quoting Donnelly v. DeChristoforo, 416 U.S.

20   637,   646–47   (1974)).       The   government    further    argues    in   a
21   footnote:

22               Even if government counsel had made a
                 misstatement, it would be harmless because
23               after defense counsel objected, the Court
                 reminded the jury that the Court would be
24               responsible for instructing the jury on the
                 law. After closing arguments, the Court
25               correctly instructed the jury on the law,
                 including the elements that the government is
26               required to prove and the evidence that the
                 jury may consider. No additional instruction
27               is necessary. Furthermore, it would be
                 inappropriate for the Court to give the
28               recommended defense instruction at this time,
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1              because it would have the Court affirmatively
               suggest that the jury should consider motive
2              in evaluating the defendant’s guilt. Such a
               directive from the Court would impinge on the
3              jury’s role.

4    Id. at 3 n. 1.

5              As to the second alleged error, the government argues:

6              The Ninth Circuit has held that it is
               structural error to send recordings back to
7              the jury room if they were not played in
               their entirety during the trial. United
8              States v. Noushfar, 78 F.3d 1442, 1444-46
               (9th Cir. 1996). In this case, the jury heard
9              only clips of the undercover video during the
               trial, and therefore it would be structural
10             error to send the undercover video to the
               jury room.
11
               Even if the entire undercover video had been
12             played during the trial, there would be no
               requirement that the Court send it back to
13             the jury room. Whether to send back to the
               jury room a video that has been admitted into
14             evidence and played in its entirety during
               trial is a matter for the Court’s discretion.
15             United States v. Chadwell, 798 F.3d 910, 914-
               16 (9th Cir. 2015). . . .
16
               . . . No further instruction to the jury on
17             this point is necessary, because the Court
               already told the jury that if it wanted to
18             watch the undercover video, it would need to
               send a request to the Court. Indeed, further
19             instruction about how to request the video
               would   be   inappropriate,  because  making
20             suggestions about what evidence the jury
               ought to be considering would constitute
21             undue     interference    in    the   jury’s
               deliberations.
22

23   Id. at 4:20–24.

24             “[T]he power [to declare a mistrial] ought to be used

25   with the greatest caution, under urgent circumstances, and for

26   very plain and obvious causes.”         Blueford v. Arkansas, 566 U.S.

27   599, 618 (2012) (quoting United States v. Perez, 22 U.S. (Wheat.

28   9) 579, 580, 6 L. Ed. 165 (1824)).          “The trial court is in the
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1    best   position      to    determine   whether     an   incident   merits     a

2    mistrial,”     and   the    decision   is   left   to   the    trial   court’s

3    discretion.     United States v. Lemus, 847 F.3d 1016, 1025 (9th

4    Cir. 2016) (citing United States v. Gardner, 611 F.2d 770, 777

5    (9th Cir. 1980)).

6               Defendant has not shown that any comment made by the

7    judge during closing argument is a basis for a mistrial, nor has

8    he shown that the government’s closing argument must be construed

9    as he does.      As the government argues, because portions of the

10   video recording were not shown to the jury in open court, it

11   would be error to send the full video to the deliberation room.

12   The jury was told that they could request to see the video if

13   they pleased, and no request has yet been made.                Reviewing the

14   transcript, ECF No. 132, reveals that the government’s discussion

15   of motive is tied to explanations about what the government does

16   and does not need to prove.            Although without context some of

17   these statements can be read to dissuade any consideration of

18   motive,   in   context     the   government   exhorts    the    jury   not   to

19   penalize it for a lack of motive evidence, as it need not prove a

20   motive.
21              Defendant’s motion for a mistrial is denied, and the

22   jury will not be further instructed as Defendant requests.

23              Dated:     April 6, 2018

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